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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 JACOVETTI LAW, P.C., et al.,                    Case No. 2:20-cv-00163-JDW

               Plaintiffs,

        v.

 JAMES EVERETT SHELTON, et al.,

               Defendants.


                                           ORDER

       AND NOW, this 1st day of September, 2020, upon consideration of Defendants James

Everett Shelton’s and Final Verdict Solutions’ Motion for Dismissal Pursuant to Fed. R. Civ. P.

12(b)(6) (ECF No. 46), it is ORDERED that, for the reasons stated in the accompanying

Memorandum, the Motion is GRANTED.

                                                   BY THE COURT:


                                                   /s/ Joshua D. Wolson
                                                   JOSHUA D. WOLSON, J.
